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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


TIKTOK INC., et al.,

                        Plaintiffs,

        v.                                              Case No. 20-cv-02658 (CJN)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                        Defendants.



RESPONSE TO REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS FOR A
  PUBLIC DIAL-IN FOR THE SEPTEMBER 27, 2020 HEARING ON PLAINTIFFS’
             APPLICATION FOR PRELIMINARY INJUNCTION

       Like the Government, Plaintiffs do not oppose providing a public means of access for

addressing the unsealed matters in this case. For their part, Plaintiffs do not anticipate addressing

any sealed matters as part of their affirmative presentation. Plaintiffs likewise defer to the Court

as to whether it is logistically feasible to have a separate session for sealed matters, if necessary,

given that these are emergency proceedings.



DATED: September 26, 2020                      Respectfully submitted,



                                                 /s/ John E. Hall              .

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